                 IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


RONNIE WALLACE LONG,                   )
                                       )
                       Petitioner,     )
                                       )
                 v.                    )           1:16CV539
                                       )
FRANK LEE PERRY,                       )
                                       )
                       Respondent.     )


            MEMORANDUM OPINION, ORDER, AND RECOMMENDATION
                  OF UNITED STATES MAGISTRATE JUDGE

     Petitioner, a prisoner of the State of North Carolina, seeks

a writ of habeas corpus pursuant to 28 U.S.C. § 2254.             (Docket

Entry 1.)    Respondent has moved for summary judgment (Docket Entry

6) and Petitioner has requested leave to conduct discovery (Docket

Entry 10).    Because Petitioner has not exhausted his fingerprint-

related Brady claim in state court, the undersigned United States

Magistrate Judge will deny Petitioner’s discovery request and will

recommend that the Court dismiss his Petition without prejudice.

                         I. Procedural History

     On October 1, 1976, in the Superior Court of Cabarrus County,

a jury found Petitioner guilty of first-degree rape and first-

degree burglary in cases 76 CRS 5708 and 76 CRS 5709, respectively.

(See Docket Entry 1 at 6; see also Docket Entry 7-34 at 5-6.)1           The




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        Page citations refer to the page numbers that appear in the footer
appended to documents upon their docketing in the CM/ECF system.




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trial court sentenced Petitioner to two concurrent life sentences.

(Docket Entry 1 at 6.)

      Petitioner appealed (see id.), alleging that the victim’s

pretrial identification qualified as impermissibly suggestive, see

State v. Long, 293 N.C. 286, 289, 237 S.E.2d 728, 730 (1977), law

enforcement officers unlawfully searched Petitioner’s vehicle, see

id. at 292, 237 S.E.2d at 731, and the trial court improperly

admitted evidence of a latent shoe print, see id. at 295, 237

S.E.2d at 733.      On October 11, 1977, the North Carolina Supreme

Court found no prejudicial error.                See id. at 296, 237 S.E.2d at

734 (“Evidence of [Petitioner’s] guilt was clear.               His convictions

result from a trial free from prejudicial error.                The verdicts and

judgments    of   the    trial   court     must    therefore   be   upheld.   No

error.”).2   Petitioner did not thereafter seek review by the United

States Supreme Court.          (See generally Docket Entry 1 at 6.)

      On August 1, 1986,         Petitioner submitted a pro se motion for

appropriate relief (“1986 MAR”) to the Cabarrus County Superior

Court,   alleging       that   (1)   law       enforcement   officers   illegally

searched Petitioner’s vehicle (see Docket Entry 7-15 at 4-8); (2)

the state improperly selected the jury venire on the basis of race



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        Because a conviction for first-degree rape carried a mandatory death
sentence at the time of Petitioner’s indictment in May 1976, see N.C. Gen. Stat.
§§ 14-21 (1966), Petitioner’s appeal of right lay in the North Carolina Supreme
Court. On July 2, 1976, the United States Supreme Court struck North Carolina’s
death penalty statute as unconstitutional, which converted the sentence for
first-degree rape to life imprisonment. See Woodson v. North Carolina, 428 U.S.
280, 301 (1976).

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(see     id.   at    8-23);   and   (3)    Petitioner       received   ineffective

assistance of trial counsel in connection with the motions to quash

the jury venire and to suppress evidence seized from Petitioner’s

vehicle,       and   Petitioner     received      ineffective     assistance    of

appellate      counsel    generally       (see   id.   at    23-28).    Following

appointment of counsel, Petitioner filed, through counsel, an

amendment to his 1986 MAR, adding claims that (1) selection of the

grand jury’s foreperson qualified as racially discriminatory; (2)

trial counsel provided ineffective assistance by failing to move

for a change of venue or special venire; and (3) appellate counsel

acted ineffectively by not arguing the race discrimination in jury

pool selection claim on appeal.            (See Docket Entry 7-17 at 48-49.)

After a hearing, the Honorable Russell G. Walker, Jr., denied the

1986 MAR on the merits on July 8, 1988.                (See id. at 48-53.)     The

North Carolina Supreme Court subsequently denied certiorari review.

State v. Long, No. 530P88, 377 S.E.2d 228 (Mem.), 1989 WL 14003

(N.C. Jan. 4, 1989).

        On April 24, 1989,      Petitioner filed a pro se petition for a

writ of habeas corpus pursuant to 28 U.S.C. § 2254 in this Court,

alleging that (1) the trial court improperly admitted evidence

seized during an illegal search of Petitioner’s vehicle (Docket

Entry 7-41 at 5); (2) the trial court improperly interfered with

Petitioner’s challenge to the jury pool selection process (id.);

and (3) Petitioner received ineffective assistance of trial counsel


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generally       and    in    regards     to    the   challenge    to    the   jury   pool

selection process (id. at 6).                      On May 3, 1990, United States

District Judge N. Carlton Tilley, Jr., adopted United States

Magistrate Judge Russell A. Eliason’s recommendation of dismissal

of Petitioner’s Section 2254 petition on the merits, Long v. Dixon,

Civ. No. C-89-278-S (M.D.N.C. May 3, 1990) (unpublished).                            (See

Docket Entry 7-43.)

        Years later, after enlisting the assistance of the University

of North Carolina Innocence Project (see Docket Entry 7-25 at 49-

50; Docket Entry 7-26 at 1-2), Petitioner filed, through pro bono

(and        later    appointed)     counsel,         a   Motion   for    Location    and

Preservation          of    Evidence     in   Cabarrus     County      Superior   Court,

specifically seeking any biological evidence taken from the victim

and/or her home, the victim’s clothing, hair samples taken from

Petitioner, as well as the green toboggan law enforcement found in

Petitioner’s vehicle and any hair contained therein (Docket Entry

7-18).        Petitioner also filed, through counsel, a Motion for DNA

Testing,       seeking       to   test   any       available   biological     evidence,

including the hair in the green toboggan.                      (See Docket Entry 1-2

(hearing transcript on Motion for DNA Testing); see also Docket

Entry 7-20 at 20-22 (state court’s order denying Motion for DNA

Testing).)3         On May 23, 2005, the Honorable Erwin Spainhour granted



        3
            The record does not contain a copy of Petitioner’s Motion for DNA
Testing.

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Petitioner’s Motion for Location and Preservation of Evidence,

ordering    the    Cabarrus   County   District      Attorney’s     office,       the

Concord    Police    Department   (“CPD”),     and    the       State    Bureau    of

Investigation (“SBI”) to locate and preserve all evidence. (Docket

Entry 7-20 at 16-19.) In response, the SBI initially reported that

it possessed no evidence related to Petitioner’s case.                      (Docket

Entry 7-21 at 23.)

     At a subsequent hearing to determine whether new evidence

existed, a sergeant with the CPD testified that he had located the

master case       file   in Petitioner’s     case and       a    spiral    evidence

notebook.     (See Docket Entry 1-2 at 5-13, 19-20.)                    On June 17,

2005, Judge Spainhour denied Petitioner’s Motion for DNA Testing,

but granted his counsel the right to examine the master case file

and spiral notebook. (See Docket Entry 7-20 at 20-22.)                   The master

case file contained two reports from an identification officer with

the CPD, Van Isenhour, detailing items of evidence he had delivered

to the SBI.    (Docket Entry 1-5, ¶ 5; see also Docket Entry 7-37 at

3-8.)     One undated report listed only the latent shoe print and

inked impressions of the bottoms of Petitioner’s shoes as items

Isenhour had delivered to the SBI for testing.              (Docket Entry 7-37

at 7-8.)     The other report, dated May 12, 1976, listed numerous

additional items of evidence Isenhour had delivered to the SBI for

testing, including        Petitioner’s     leather    jacket,      toboggan, and

gloves, as well as paint samples, carpet fiber samples, a sample of


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the victim’s head and pubic hair, a sample of Petitioner’s head and

pubic    hair,    matchbooks    from   Petitioner’s         car,   burned   matches

obtained from the scene, and the victim’s clothing.                   (See Docket

Entry 7-37 at 3-6.)4

      On January 13, 2006, the SBI, with the assistance of the State

Archives, located and provided Petitioner’s counsel with copies of

three    SBI     test    reports   (and       associated     handwritten     notes)

corresponding to the items of evidence detailed in Isenhour’s May

12, 1976 report.         (See Docket Entry 7-44; see also Docket Entry 7-

36 at 31-51.)       The newly disclosed SBI reports (and associated

handwritten notes) revealed that SBI agents (1) compared a hair

found at the scene with both the victim’s and Petitioner’s hair

samples, and concluded that the hair from the scene did not match

either individual (see Docket Entry 7-36 at 43-51); (2) examined

Petitioner’s leather jacket and gloves and did not find any trace

of the paint or carpet fibers from the victim’s home (see id. at

31-40); (3) evaluated the victim’s clothing and did not find any of

Petitioner’s hairs thereon (see id. at 43-51); (4) compared the

matchbooks from Petitioner’s car with the burned matches from the

scene,    and    found    insufficient        identifying    characteristics     to

establish a linkage (id.); and (5) compared the latent shoe print

with the inked impressions of Petitioner’s shoe bottoms, and

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        The May 12, 1976 report also referenced a hair “appearing to be human in
origin” found at the base of the victim’s stairs where the rape occurred (see
Docket Entry 7-37 at 3), but did not specifically list that hair as an item
delivered by Isenhour to the SBI for testing (see id. at 5).

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concluded that Petitioner’s shoes could have made the shoe print,

but   that   insufficient    identifying    characteristics     existed    to

conclude that Petitioner’s shoes did make the shoe print (see id.

at 41-42).

       In response to another order from Judge Spainhour to locate

and preserve evidence (id. at 24-25), Northeast Medical Center

(formerly Cabarrus Memorial Hospital) produced 26 pages of the

victim’s medical records from her hospitalization following the

rape (see id. at 28).        After in camera review, Judge Spainhour

authorized the release of 11 pages of those medical records to

Petitioner’s counsel. (Id.; see also id. at 52-56; Docket Entry 7-

37 at 1-2)     Those records made clear that examining physician Dr.

Lance Monroe prepared three slides of semen, took two swabs of

vaginal secretions and placed them in test tubes, and took pubic

combings from the victim.        (See Docket Entry 7-20 at 30; Docket

Entry 7-36 at 52-56; Docket Entry 7-37 at 1-2.)          Subsequent orders

from Judge Spainhour in 2007 to locate that biological evidence

produced no results.      (See Docket Entry 7-20 at 31-53.)

       On August 29, 2008, Petitioner        filed, through counsel, a

second MAR (“2008 MAR”) with the Cabarrus County Superior Court

(Docket Entries 7-19 to 7-23), claiming that (1) the state failed

to disclose exculpatory material to the defense in violation of

Petitioner’s right to a fair trial under the Due Process Clause of

the United States Constitution, Article I, Section 19 of the North


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Carolina Constitution, and Brady v. Maryland, 373 U.S. 83 (1963);

and (2) Petitioner discovered new evidence with a direct and

material bearing on Petitioner’s guilt or innocence under N.C. Gen.

Stat. §      15A-1415(c)   (see   Docket    Entry   7-19   at   1).5    At   the

evidentiary hearing on Petitioner’s 2008 MAR, Petitioner called (1)

Richard Rosen, a professor at University of North Carolina Law

School and founder of the school’s innocence project (see Docket

Entry 7-25 at 48-50; Docket Entry 7-26 at 1-12); (2) his trial

counsel’s investigator, Les Burns (see Docket Entry 7-26 at 12-73);

(3) his trial counsel, Karl Adkins and James Fuller (see id. at 74-

92; Docket Entry 7-27 at 1-30, 56-67; Docket Entry 7-28 at 1-35);

(4) the assistant district attorney at Petitioner’s trial, Ron

Bowers (see Docket Entry 7-28 at 36-63); and (5) a rebuttal

forensic evidence expert, Jeffrey Morris Hollifield (see Docket

Entry 7-30 at 20-70).6

          On February 25, 2009, the Honorable L. Donald Bridges denied

Petitioner’s claims under Brady and N.C. Gen. Stat. § 15A-1415(c),

but granted sentencing relief on grounds not relevant to the

instant Petition (which ultimately resolved in a manner unfavorable

to Petitioner).       (Docket Entry 7-31.)          Petitioner, through new



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        Petitioner also made two arguments relating to sentencing relief which
do not bear on the instant Petition. (See Docket Entry 7-19 at 2-3.)

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         Despite obtaining the 2008 MAR court’s permission to procure the
attendance at the hearing of Isenhour (see Docket Entry 7-24 at 5-11), Petitioner
did not call Isenhour (or any other CPD officer involved in the case) as a
witness at the evidentiary hearing (see Docket Entries 7-24 to 7-30).

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counsel, submitted a petition for writ of certiorari to the North

Carolina Supreme Court (Docket Entries 7-33 to 7-38), reasserting

his Brady claim, and arguing that the state’s failure to preserve

the   rape   kit    and    the   victim’s        clothing      violated    Arizona    v.

Youngblood, 488 U.S. 51 (1988), and California v. Trombetta, 467

U.S. 479 (1984) (see Docket Entry 7-33 at 3-5, 21-63). On February

4, 2011, the North Carolina Supreme Court issued a three-three per

curiam    decision,       with   one   justice        abstaining,       resulting     in

affirmance of the trial court’s denial of Petitioner’s 2008 MAR.

See State v. Long, 365 N.C. 5, 705 S.E.2d 735 (2011).

       On February 3, 2012, Petitioner submitted, through North

Carolina Prisoner Legal Services counsel, a second petition for a

writ of habeas corpus under Section 2254 to this Court, alleging a

Brady claim.        Long v. Lancaster, No. 1:12CV119, Docket Entry 1

(M.D.N.C.    Feb.    3,    2012).      On       August   2,    2012,    the   Honorable

Catherine    C.     Eagles    dismissed         the   action    as     successive,    as

Petitioner had not first applied to the United States Court of

Appeals for the Fourth Circuit for permission to file a second or

successive petition.          Long v. Lancaster, No. 1:12CV119, 2012 WL

3151179 (M.D.N.C. Aug. 2, 2012) (unpublished).

       Thereafter,    at     Petitioner’s        counsel’s      request,      the   North

Carolina Innocence Inquiry Commission (“NCIIC”) agreed to review

his case under the Postconviction DNA Testing Assistance Program.




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(See Docket Entry 1-5, ¶ 7; see also Docket Entry 9-3.)7                   Upon

inquiry by the NCIIC, the CPD located three envelopes containing 43

latent fingerprint lifts the CPD had taken from the scene.                 (See

Docket Entry 9-3 at 2; see also Docket Entry 1-1.)            An independent

expert analyzed the prints, and excluded Petitioner and several

alternate suspects as sources of the prints. (See Docket Entry 9–3

at 2.)8    Additionally, the CPD ran the four latent fingerprint

lifts of sufficient value to test through an Automated Fingerprint

Identification     System    (“AFIS”),     which   returned     “no    possible

contributors” for the lifts.         (See Docket Entry 1-1.)          The NCIIC

provided Petitioner’s new (and current) counsel with the Duke

University Wrongful Convictions Clinic with a copy of the CPD’s

report reflecting the AFIS queries.          (See Docket Entry 9-3 at 2.)

      On July 30, 2015, the NCIIC decided not to pursue Petitioner’s

case, because of the lack of evidence appropriate for DNA testing.

(Id.)     Shortly thereafter, Petitioner requested a copy of the

NCIIC’s file in his case (which also contained the Cabarrus County

District Attorney’s file and the CPD’s file in Petitioner’s case),

but the District Attorney, Roxann Vaneekhoven, refused to consent



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        The North Carolina Administrative Office of the Courts established the
eight-member NCIIC as a state agency in 2006 for the purpose of “investigat[ing]
and    evaluat[ing]    post-conviction    claims    of    factual    innocence.”
www.innocencecommission-nc.gov (last visited Nov. 23, 2016); see also N.C. Gen.
Stat. § 15A-1460-75.

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        According to Petitioner, CPD records previously provided to the defense
included information about only one of the alternate suspects. (See Docket Entry
9 at 7.)

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to release of the District Attorney’s file and the CPD’s file.

(See Docket Entry 9-2 at 2.)    The NCIIC also refused to consent to

production of its file due to the “undu[e] burden[] for [the NCIIC]

to separate out investigative materials and documents related to

[the District Attorney’s and CPD’s] files from the [NCIIC’s]

files.”   (Id.)

       On April 4, 2016, Petitioner filed, through his current

counsel, a motion under 28 U.S.C. § 2244 in the Fourth Circuit for

an order authorizing this Court to consider a second or successive

petition under Section 2254.     In re: Ronnie Wallace Long, No. 16-

295, Docket Entry 2 (4th Cir. Apr. 4, 2016).         The Fourth Circuit

granted that motion.   (Docket Entry 1-6.)     Thereafter, Petitioner,

proceeding through counsel, filed the instant Petition in this

Court.    (Docket Entry 1.)    Respondent moved for summary judgment

both on the merits and on the procedural grounds of successiveness,

non-exhaustion, and untimeliness (Docket Entries 6, 7), Petitioner

responded (Docket Entry 9), and Respondent replied (Docket Entry

12).   Petitioner subsequently filed a Motion for Leave to Conduct

Discovery (Docket Entry 10) (with a memorandum in support (Docket

Entry 11)), which Respondent opposed (Docket Entry 13), whereupon

Petitioner replied (Docket Entry 14).




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                       II. Petitioner’s Claims

     The Petition nominally identifies two grounds for relief: 1)

Petitioner’s   “credible   claim   of   actual   innocence    creates    a

‘gateway’ to federal habeas relief” (Docket Entry 1 at 39 (bold

font and capitalization omitted)); and 2) “the state violated

Petitioner’s constitutional rights under Brady v. Maryland by

failing to disclose SBI reports and notes, the victim’s medical

records, and Detective Isenhour’s Reports” (id. at 54 (bold font

and capitalization omitted)).       However, elsewhere, the Petition

describes “[t]he evidence withheld from defense counsel at trial”

as including certain biological evidence taken from the victim,

four SBI reports, “[a]nd latent fingerprints discovered in 2015.”

(Id. at 3; see also id. at 67-68 (arguing for relief under Brady

based on “the additional consideration of the newly discovered

latent fingerprint evidence discovered by the defense in 2015”).)

                              III. Facts

     On direct appeal, the North Carolina Supreme Court described

the trial evidence as follows:

     The State offered evidence tending to show that on the
     evening   of    25   April   1976,   [the    victim],   a
     fifty-four-year-old widow, was alone in her home [in]
     Concord. She walked into her den around 9:30 p.m. and
     was grabbed from behind by a black man wearing a black
     leather jacket, black gloves, and a green toboggan cap
     covering his ears but not his face. He threw her onto
     the floor, put a knife at her throat, and demanded money.
     He pushed her into her bedroom to her bed, where she
     rummaged through her pocketbook only to find that her
     money was gone. He then shoved her into a lighted hall,
     threw her onto the floor, and raped her. Other sordid

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 details concerning [the assailant’s] acts, not necessary
 to decision, are omitted. The assault continued until
 the phone rang, at which time the assailant jumped up and
 left. [The victim] then ran unclothed out the back door
 to her neighbor’s home, and was rushed by ambulance to
 the hospital.

 A gynecologist found live active spermatozoa in her
 vagina, as well as numerous scratches and bruises on her
 face and body.

 [Petitioner] offered evidence tending to show that on
 Sunday, 25 April 1976, [he] attended a class reunion
 planning meeting. He made arrangements with friends to
 go to Charlotte later that night.         [Petitioner’s]
 mother[] testified that her son was at home from around
 8:30 p.m. until after 10:00 p.m. Mrs. Long, [Petitioner]
 and [Petitioner’s girlfriend] participated in a phone
 conversation which lasted about forty-five minutes.
 [Petitioner’s girlfriend] indicated that she called the
 Long residence at 9:00 p.m. She said that she and her
 son talked with [Petitioner] and Mrs. Long until 9:45
 p.m.   Shortly after 10:00 p.m., [Petitioner’s] father
 returned home with the car and [Petitioner] left for a
 party in Charlotte.

 . . . .

 [O]n 5 May 1976 officers came to [the victim’s] house and
 requested her to come and sit in district court to see if
 there might be a man she could recognize as her
 assailant. The officers told her that they did not know
 who would be in court, and that she may have to come to
 court on two or more occasions before she could identify
 anyone. [The victim] went to the courthouse on 10 May
 and talked with officers before entering the courtroom.
 Again, they made no suggestion to her that [Petitioner]
 or anyone else in particular would be in the courtroom.
 They simply told her to sit in the courtroom and look
 around and see if she could recognize the man who raped
 her. [The victim] entered the courtroom with her friend
 . . . and sat apart from the officers. There were as
 many as sixty people in the courtroom, and as many as a
 dozen black males. [The victim] testified that when the
 judge called the name Ronnie Wallace Long, a name she had
 never heard before, a man she recognized as her assailant
 walked down the aisle past her. She testified that she
 immediately recognized him, and that, without prompting,

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     she motioned     to   police   that   [Petitioner]        was    the
     man. . . .

     [A]fter the courtroom identification the police took [the
     victim] to the station and showed her six or eight
     photographs, and once again, without prompting, she
     identified [Petitioner].      She also testified that
     officers did not point out any particular picture to her,
     and that she recognized [Petitioner] from seeing him at
     the time of the assault. . . .

     [Petitioner] agreed to [a] search [of his vehicle on 10
     May 1976] . . . .    Upon search, [an officer] found a
     green toboggan cap under the front seat, and a pair of
     black leather gloves over the sun visor. [Petitioner]
     was wearing a black leather jacket.        [The victim]
     described the jacket, the toboggan cap and the gloves as
     similar or identical to those worn by [her assailant] at
     the time of the assault. . . .

     [According to] an expert on prints, . . . [a] shoe print
     [lifted from the banister of the front porch of the
     victim’s home near a post leading to the roof which
     provided access to an unlocked, second-story window above
     the porch] . . . could have been made by shoes worn by
     and taken from [Petitioner] at the time of his arrest.

Long, 293 N.C. at 288, 290, 292, 295, 237 S.E.2d at 729, 730-31,

732, 733-34.

                            IV. Discussion

A. Exhaustion

     Respondent   argues   in   support    of   his   motion    for    summary

judgment that “any claim for relief based upon [the] 2015 discovery

of latent fingerprints[] is non-exhausted and Respondent[] [does]

not waive non-exhaustion.” (Docket Entry 7 at 22 (citing N.C. Gen.

Stat. §15A-1415(c) (providing that “a defendant at any time after

verdict may by a [MAR], raise the ground that evidence is available

which was unknown or unavailable to the defendant at the time of

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trial, which could not with due diligence have been discovered or

made available at that time, . . . and which has a direct and

material bearing upon the defendant’s . . . guilt or innocence”),

28 U.S.C. § 2254(b)(1)(A) (declaring that “[a]n application for a

writ of habeas corpus on behalf of a person in custody pursuant to

the judgment of a State court shall not be granted unless it

appears that . . . the applicant has exhausted the remedies

available in the courts of the State”), and Rose v. Lundy, 455 U.S.

509, 522 (1982) (“hold[ing] that a district court must dismiss

habeas     petitions     containing     both   unexhausted      and   exhausted

claims”)).)     In response, Petitioner does not expressly address

exhaustion, but argues, more generally, that “[a] petitioner’s

otherwise defaulted claims, including those filed outside of the

one-year    statute      of   limitations    under   [the   Antiterrorism   and

Effective Death Penalty Act of 1996 (“AEDPA”)] or where facts are

not first developed in state court, are excused when a petitioner

satisfies the actual innocence gateway.”               (Docket Entry 9 at 8

(citing Schlup      v.    Delo,   513   U.S. 298,     319-22,   and McQuiggin

v. Perkins, ___ U.S. ___, 133 S. Ct. 1924 (2013)) (emphasis

added).)9

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         By describing “otherwise defaulted claims” (Docket Entry 9 at 8),
Petitioner does not appear to contest Respondent’s position that the matter of
the 2015 disclosure regarding latent fingerprints rises to the level of a new
Brady claim not presented to the state courts, as opposed to new evidence that
merely bolsters the Brady claim that the state courts already adjudicated on the
merits.    Moreover, Petitioner separately listed the “latent fingerprints
discovered in 2015” as an item of suppressed evidence in his Petition. (Docket
Entry 1 at 3.) Under such circumstances, Petitioner’s assertions about the 2015
disclosure regarding latent fingerprints constitute a new claim under Brady. See

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      Thus, Petitioner and Respondent apparently disagree regarding

whether a Brady claim founded on the 2015 disclosure regarding

latent fingerprints would constitute an unexhausted claim or a

procedurally     defaulted     claim.       See    Morabito      v.   Krysevig,      No.

06–1415,    2007    WL    2071889,    at    *2     (E.D.   Pa.    July       18,   2007)

(unpublished) (remarking that, “however much they may overlap in

practice,    exhaustion      and    procedural      default      are       analytically

distinct categories, and the excuses of ‘cause and prejudice’ or

‘miscarriage       of    justice’    are    only    applicable        to    procedural

default”).    Petitioner must exhaust available state court remedies

before this Court can consider granting relief on a federal habeas

claim, unless “there is an absence of available State corrective

process[] or . . . circumstances exist that render such process

ineffective to protect the rights of the applicant.”                         28 U.S.C.

§ 2254(b)(1); see also Engle v. Issac, 456 U.S. 107, 125 n.28

(1982) (exhaustion “refers only to remedies still available at the



DeMoss v. McCollum, No. 13-CV-0202-JED-PJC, 2016 WL 204497, at *4 (N.D. Okla.
Jan. 15, 2016) (unpublished) (holding that, although “‘not every new piece of
evidence makes a claim a new one,’ new evidence not presented to the state courts
may be sufficient to convert a claim formerly raised in state court proceedings
into a new claim that was not adjudicated on the merits – thus rendering the
petition a mixed petition – if the ‘new evidence so changes the legal landscape
that the state court’s prior analysis no longer addresses the substance of
[Petitioner’s] claim.’” (quoting Fairchild v. Workman, 579 F.3d 1134, 1148-49
(10th Cir. 2009)); see also Cullen v. Pinholster, 563 U.S. 170, 186 n.10 (2011)
(observing that dissenting “Justice [Sotomayor’s] hypothetical involving new
evidence of withheld exculpatory witness statements may well present a new
claim,” but declining to “decide where to draw the line between new claims and
claims adjudicated on the merits” (internal citation omitted)); Sells v.
Stephens, 536 F. App’x 483, 491 (5th Cir. 2013) (noting that the court had
“consistently refused to consider a habeas petitioner’s claims exhausted where
the petitioner . . . offers new evidence that could not have been derived from
the state court record”).

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time of the federal petition”).      If an avenue for pursuing a non-

exhausted claim in the state courts remains available, a federal

court will generally decline habeas review, see Browne v. Heath,

No. 11 CV 1078 DLI, 2014 WL 8390320, at *14 (E.D.N.Y. Aug. 25,

2014) (unpublished), recommendation adopted, No. 11-CV-1078 DLI

CLP, 2015 WL 1469182 (E.D.N.Y. Mar. 30, 2015) (unpublished);

conversely, where no potential avenue in the state courts exists

for a claim, requiring its presentation in the state courts would

amount to an exercise in futility, see Aparicio v. Artuz, 269 F.3d

78, 90 (2d Cir. 2001).    Under such circumstances, the claim faces

a procedural bar, and Petitioner must demonstrate cause for the

default and actual prejudice, or that failure to consider the

defaulted claim would amount to a fundamental miscarriage of

justice (such as in the case of actual innocence).        See Coleman v.

Thompson, 501 U.S. 722, 748-50 (1991).

     In this case, neither party disputes that the state courts

have not had an opportunity to consider Petitioner’s Brady claim

based on the 2015 disclosure regarding latent fingerprints.          (See

Docket Entry 7 at 22; see also Docket Entry 9 at 8.)           Thus, the

analysis narrows to whether avenues remain in state court for

Petitioner to bring his fingerprint-based Brady claim. See Browne,

2014 WL 8390320, at *14.     Under North Carolina’s post-conviction

relief procedure, Petitioner can raise at any time in a MAR “the

ground that evidence is available which was unknown or unavailable


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to [Petitioner] at the time of trial, which could not with due

diligence have been discovered or made available at that time,

. . . and which has a direct and material bearing upon the

[Petitioner’s] . . . guilt or innocence.”        N.C. Gen. Stat. § 15A-

1415(c).    Moreover, North Carolina’s rules for procedural default

would not bar Petitioner’s fingerprint-based Brady claim under the

circumstances presented here.      See N.C. Gen. Stat. § 15A-1419(a)

(providing as grounds for denial of MAR that, upon a previous MAR

or appeal, the petitioner “was in a position to adequately raise

the ground or issue underlying the present motion but did not do

so”).    Thus, Petitioner’s fingerprint-based Brady claim qualifies

as unexhausted, but not procedurally defaulted.

       Respondent urges the Court to deny Petitioner’s fingerprint-

based Brady claim on its merits, notwithstanding the failure to

exhaust, under 28 U.S.C. § 2254(b)(2).       (See Docket Entry 7 at 22-

23.)    However, given that Petitioner (as discussed in subsection

IV.B.) has requested leave to conduct discovery regarding his Brady

claim based on the 2015 disclosure regarding latent fingerprints,

the Court should decline to exercise its discretion to deny the

claim on its merits and instead should allow Petitioner to return

to state court to develop the claim.         See Carter v. Ballard, No.

2:14-CV-11952, 2015 WL 966127, at *13 (S.D.W. Va. Mar. 4, 2015)

(unpublished)    (noting   that    “[m]any     of   [the   petitioner’s]

unexhausted claims relate to ineffective assistance of counsel, and


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the record for these claims has yet to be developed in state habeas

proceedings,” and that, absent such development, “at this stage,

the court is not in a position to definitively determine that [the

petitioner’s]       ineffective   assistance      of    counsel    claims    lack

merit”); Ward v. Trent, 19 F. Supp. 2d 608, 613 (S.D.W. Va. 1998)

(observing that, although “a district court has the authority to

deny a petitioner’s unexhausted habeas claims on the merits, . . .

principles of comity, federalism and fairness favor exhaustion in

state court unless it is obvious that the petitioner is not

presenting    a   colorable   federal     claim    or    some     other   extreme

circumstance is present” (internal quotation marks omitted)), aff’d

in part, dismissed in part on other grounds, No. 98-7267, 188 F.3d

505 (table), 1999 WL 638606 (4th Cir. Aug. 23, 1999) (unpublished).

     In the event that a federal habeas petitioner presents a

“mixed petition” consisting of both exhausted and unexhausted

claims, the district court may (1) dismiss the petition in its

entirety without prejudice; (2) order a stay and abeyance while the

petitioner exhausts his claims in state court; or (3) allow the

petitioner to remove the unexhausted claims and proceed with the

exhausted claims.       Rhines v. Weber, 544 U.S. 269, 277–78 (2005).

In regards to stay and abeyance, the court noted that, “[a]s the

result   of   the     interplay   between   AEDPA’s       1-year    statute    of

limitations and Lundy’s dismissal requirement, petitioners who come

to federal court with ‘mixed’ petitions, run the risk of forever


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losing     their       opportunity        for    any      federal         review      of   their

unexhausted claims.” Rhines, 544 U.S. at 275. “The [Rhines court]

recognized,       however,         that   applying        the      ‘stay        and   abeyance’

procedure       could    undermine        Congress’        design         in    the   AEDPA    to

encourage finality in criminal proceedings and to streamline the

federal     habeas       process.”              Al-Amin       v.    Stevenson,          No.   CA

0:10-2023-CMC-PJG, 2011 WL 3439531, at *1 (D.S.C. Aug. 5, 2011)

(unpublished).         Thus, “[t]o obtain a stay of a mixed petition, the

petitioner must show ‘good cause’ for failing to exhaust his state

remedies, that his unexhausted claims are potentially meritorious,

and that he has not engaged in dilatory tactics.”                                 Id. (quoting

Rhines, 544 U.S. at 278).                 “[T]he practice of staying a federal

habeas case while a petitioner returns to state court to exhaust

his    claims    should       be   used    sparingly.”             Kanode       v.    Waid,   No.

1:08–1113, 2011 WL 2633645, at *1 (S.D.W. Va. July 5, 2011)

(unpublished).

       Many federal district courts have found good cause for a stay

where     any    subsequent         federal          habeas     petition,         filed    after

exhaustion of state remedies, would face a potential time bar.

See, e.g., Smith v. Wolfe, No. PJM–10–2007, 2011 WL 4548315, at *6

(D. Md. Sept. 27, 2011) (unpublished); Clement v. Blair, No.

06–00351,       2007     WL    57782,      at        *3   (D.      Haw.        Jan.   5,   2007)

(unpublished).          However, by logical extension, other courts have

held that, if the AEDPA statute of limitations already bars a


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petitioner’s unexhausted federal habeas claims, such that the

petitioner   must   rely   upon   equitable    tolling,    see     Holland   v.

Florida,   560   U.S.   631,   645   (2010),   or   the   actual    innocence

exception to the limitations period, see McQuiggin, ___ U.S. at

___, 133 S. Ct. at 1928, 1931-33, no good cause for a stay exists.

See Doe v. Jones, 762 F.3d 1174, 1182-83 (10th Cir. 2014) (“In

light of McQuiggin, petitioner here does not face a similar dilemma

to the . . . petitioners in the other courts finding that the

Rhines good cause standard was met.            If petitioner does have a

substantial actual innocence claim, . . . under McQuiggin the

existence of such a claim will serve as an exception to the AEDPA

statute of limitations and he therefore does not have a legitimate

concern that the claim will be time barred in federal court.”),

cert. denied sub nom. Doe v. Patton, ___ U.S. ___, 135 S. Ct. 1424

(2015); accord Long v. Ballard, No. 2:13–cv–26, 2013 WL 6858415, at

*6 (N.D.W. Va. Dec. 30, 2013) (unpublished).

     In the instant case, Respondent has argued that, to the extent

Petitioner alleges a Brady claim based on “the victim’s medical

records provided to [Petitioner] on 12 July 2005, the [CPD master

case] file provided to [Petitioner] in July of 2005, and the SBI

file provided to [Petitioner] (through counsel) on 13 January 2006”

(the “SBI Brady claim”) (Docket Entry 7 at 22), such a claim




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qualifies as time-barred             (see id. at 23-24).10           In response,

Petitioner argues that “the actual innocence gateway overcomes

Respondents’ [sic] affirmative defenses,” and that claims “filed

outside of the one-year statute of limitations under AEDPA . . .

are excused when a petitioner satisfies the actual innocence

gateway.”     (Docket Entry 9 at 8 (citing McQuiggin, ___ U.S. at ___,

133 S. Ct. at 1931-32, and Schlup, 513 U.S. at 319-22).)                    Thus,

Petitioner has conceded that his SBI Brady claim already faces a

time bar, and that he must rely on the actual innocence gateway to

overcome that bar.      (Id.)    Under such circumstances, no good cause

exists for      this   Court    to    stay    the   case   pending   Petitioner’s

exhaustion of his fingerprint-based Brady claim in the state

courts.     See Doe, 762 F.3d at 1182-83; Long, 2013 WL 6858415, at

*6.

       In conclusion, the Court should dismiss the Petition without

prejudice to enable Petitioner to exhaust his fingerprint-based

Brady claim in the state courts.




       10
         A letter dated July 30, 2015, from the Associate Director of the NCIIC
to Petitioner’s current counsel, notified counsel that the CPD had located three
envelopes of latent fingerprints from the crime scene, and provided counsel with
a copy of the CPD’s latent fingerprint AFIS query report. (Docket Entry 9-3.)
Although the record does not clarify that this letter reflects the date of
counsel’s first knowledge of the CPD’s discovery of latent fingerprint evidence,
the Court need not determine that date or the timeliness of Petitioner’s Brady
claim based on the fingerprint evidence. As discussed above, that claim remains
unexhausted, and the Court should decline to review it at this time.

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B.    Motion for Leave to Conduct Discovery

      Petitioner has moved for discovery under Rule 6 of the Rules

Governing Section 2254 Cases on the following topics:

      (i) the late disclosed crime scene fingerprints; (ii)
      potential alternative suspects identified in the files of
      the [NCIIC], CPD, and the [District Attorney’s] [o]ffice;
      (iii) the completeness of the State’s compliance with
      obligations under Brady following the untimely disclosure
      of suspect fingerprints and the 2005 production of
      favorable, exculpatory SBI lab reports; and (iv) files
      and communications between agencies regarding alternate
      suspects and crime scene evidence that provided no match
      to [Petitioner].

(Docket Entry 10 at 4.)

      Petitioner seeks to pursue those topics by “obtain[ing] files

from the [CPD], the [NCIIC], and the District Attorney’s Office for

Cabarrus County, and [by] tak[ing] the depositions of . . . former

[CPD] detective Van Isenhour and District Attorney Roxanne [sic]

Vaneekhoven[,] . . . the [CPD,] and the [NCIIC].”          (Id. at 1; see

also Docket Entry 11 at 6-7 (“[Petitioner] seeks production of the

following documents: (1) [NCIIC] file for Petitioner’s case; (2)

Cabarrus County [District Attorney’s] file for Petitioner’s case;

(3) [d]ocuments related to any fingerprint match search conducted

in connection with the underlying criminal case and/or Petitioner’s

innocence claim; and (4) [a]ny files and communications between

agencies regarding alternate suspects and crime scene evidence that

provided    no   match   to   [Petitioner].”).)       Respondent    opposes

discovery, arguing that Petitioner has failed to demonstrate good

cause for his requests.       (See Docket Entry 13.)

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     “Unlike other civil litigants, a § 2254 habeas petitioner ‘is

not entitled    to    discovery    as   a    matter   of   ordinary course.’”

Stephens v. Branker, 570 F.3d 198, 213 (4th Cir. 2009) (quoting

Bracy v. Gramley, 520 U.S. 899, 904 (1997)).               Instead, to conduct

discovery, a habeas petitioner “must provide reasons for the

request,” Rule 6(b), Rules Governing Sect. 2254 Proceedings, that

establish “good cause,” Rule 6(a), Rules Governing Sect. 2254

Proceedings.     “A showing of good cause must include specific

allegations    suggesting    that    the     petitioner     will   be   able   to

demonstrate    that    he   is   entitled     to   habeas    corpus     relief.”

Stephens, 570 F.3d at 204.        Moreover, “[a]n evidentiary hearing is

not a fishing expedition for facts as yet unsuspected, but is

instead an instrument to test the truth of facts already alleged in

the habeas petition.”       Lenz v. Washington, 444 F.3d 295, 304 (4th

Cir. 2006) (internal quotation marks and citation omitted).

     1.   Discovery Related to the SBI Brady Claim

     Petitioner seeks discovery regarding “the completeness of the

State’s compliance with obligations under Brady following . . . the

2005 production of favorable, exculpatory SBI lab reports; and

files and communications between agencies regarding . . . crime

scene evidence that provided no match to [Petitioner].”                 (Docket

Entry 10 at 4 (internal parenthetical numbering omitted).)                To the

extent these topics encompass evidence related to Petitioner’s SBI

Brady claim, Petitioner lacks good cause for such discovery.


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     As an initial matter, given the recommendation of dismissal

without prejudice pending exhaustion of the fingerprint-related

Brady claim, discovery should not proceed in federal court unless

and until Petitioner presents an entirely exhausted petition for

review.    See Christian v. White, No. CV 04-00743 DAE-LEK, 2007 WL

4611303, at *3 (D. Haw. Feb. 6, 2007) (unpublished) (finding that

“a court should not grant a discovery request if the habeas

petition . . . involves both exhausted and unexhausted claims”

(internal quotation marks omitted)).               Alternatively, the United

States    Supreme   Court    has   made    clear    that,   “[a]lthough   state

prisoners may sometimes submit new evidence in federal court,

AEDPA’s statutory scheme [as codified in § 2254] is designed to

strongly discourage them from doing so.” Cullen v. Pinholster, 563

U.S. 170, 186 (2011) (emphasis added).             In this regard, if a state

prisoner’s petition under § 2254:

     includes a claim that has been “adjudicated on the merits
     in State court proceedings” . . . that [petition] “shall
     not be granted with respect to such a claim unless the
     adjudication of the claim”:

            “(1) resulted in a decision that was contrary to,
            or involved an unreasonable application of, clearly
            established Federal law, as determined by the
            Supreme Court of the United States; or

            (2) resulted in a decision that was based on an
            unreasonable determination of the facts in light of
            the   evidence  presented   in  the   State   court
            proceeding.”

Id. at 181 (quoting 28 U.S.C. § 2254(d)) (internal brackets and

ellipses omitted).          “This is a difficult to meet and highly

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deferential standard for evaluating state-court rulings, which

demands that state-court decisions be given the benefit of the

doubt.”    Id. (internal citations and quotation marks omitted).11

      In light of that principle, the Cullen Court held that, “[i]f

a claim has been adjudicated on the merits by a state court, a

federal     habeas   petitioner     must      overcome   the   limitation     of

§ 2254(d)(1) on the record that was before that state court.”                Id.

at 185 (emphasis added).           Because “§ 2254(d)(2) includes the

language ‘in light of the evidence presented in the State court

proceeding,’”     the   restriction      of    federal   review    under    that

provision to the state court record applies with “additional

clarity.”    Id. at 185 n.7.     Thus, any new evidence unearthed during

discovery in federal court and “later introduced in federal court

is irrelevant to § 2254(d)(1) [and (2)] review,” id. at 184.                  In

other words, because the state court adjudicated Petitioner’s SBI

Brady claim on the merits, and Petitioner must satisfy the terms of

§ 2254(d), “good cause” does not exist for the discovery Petitioner

seeks (at least prior to the analysis required under § 2254(d)),

because this Court may look only to the state court record in

applying § 2254(d).12


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         “Section 2254(d) applies even where there has been a summary denial [of
the claim in state court].” Cullen, 563 U.S. at 187.

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          Even if this Court ultimately concluded that the state court’s
determination of Petitioner’s SBI Brady claim fell short under § 2254(d), it
could grant Petitioner relief only after applying the harmless error analysis set
forth in Brecht v. Abrahamson, 507 U.S. 619, 623 (1993).        See Bauberger v.
Haynes, 632 F.3d 100, 103-05 (4th Cir. 2011) (citing, inter alia, Fullwood v.

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      A second reason supports a finding that Petitioner has not

shown good cause for certain discovery related to the SBI Brady

claim.     Petitioner seeks to depose Isenhour.        (See Docket Entry 11

at   6.)     However,   at   the   hearing    on   Petitioner’s    2008    MAR,

Petitioner specifically requested and received the permission of

the state court to obtain a certificate to procure the attendance

of Isenhour, who resided outside of North Carolina at that time.

(See Docket Entry 7-24 at 5-11.)           Moreover, the record reflects

that the lead CPD officer involved in the investigation of the

underlying crimes, Sergeant David Taylor, attended the hearing on

the 2008 MAR.     (See Docket Entry 7-25 at 15-21.)         Thus, Petitioner

had the opportunity to call Isenhour and/or Taylor as witnesses and

question them about their compliance with Brady at the time of

trial, their efforts to comply with the state court’s 2005 order to

locate and preserve evidence, and their knowledge of any files and



Lee, 290 F.3d 663, 678-83 (4th Cir. 2002)). Conceivably, after Cullen, the Court
could look outside the state court record to perform that function, provided
Petitioner satisfied the requirements of § 2254(e)(2). See generally Hearn v.
Ryan, No. CV-08-448-PHX-MHM, 2011 WL 1526912 (D. Ariz. Apr. 21, 2011)
(unpublished).   Similarly, in appropriate circumstances, courts may consider
matters outside of the state court record in connection with a gateway actual
innocence claim. See Cristin v. Brennan, 281 F.3d 404, 417 n.14 (3d Cir. 2002)
(holding that § 2254(e)(2) does not bar evidentiary hearings on whether a
petitioner can establish cause and prejudice or actual innocence to excuse
procedural default); see also Smith v. Wasden, No. CV 08-227-S-EJL, 2010 WL
672745, at *3-4 (D. Idaho Feb. 22, 2010) (unpublished) (declaring that “[t]he
general rule prohibiting new factual development on substantive claims in 28
U.S.C. § 2254(e)(2) is not applicable to gateway procedural issues”). Given that
the Court does not yet have before it a totally exhausted habeas petition, the
Court cannot assess whether the interests of judicial economy favor proceeding
directly to the § 2254(d) analysis (which would not depend upon additional
discovery) or beginning with consideration of the gateway actual innocence
question (which might involve additional discovery). Such considerations render
any request for discovery in federal court on Petitioner’s gateway actual
innocence claim premature.

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communications with other agencies regarding crime scene evidence

submitted to the SBI that did not inculpate Petitioner.               However,

Petitioner chose not to call those individuals as witnesses at the

2008 MAR hearing (see Docket Entries 7-24 to 7-30), a decision

which forecloses a finding of good cause.           See Isaacs v. Head, 300

F.3d 1232, 1250 (11th Cir. 2002) (observing that the petitioner did

“not explain why the discovery that he seeks now is any different

from the discovery that was available to him in state courts” and

that, under such circumstances, “the district court properly denied

the petitioner’s request to conduct additional discovery . . .

because he [did not] show[] ‘good cause’ as required by Rule

6(a)”).13

      Moreover, Petitioner specifically seeks to depose Vaneekhoven;

however, she did not participate in Petitioner’s trial and thus

does not have first-hand knowledge of compliance with Brady at that

time.      (See Docket Entries 7-3 to 7-14.)      To the extent Petitioner

now wishes to question Vaneekhoven regarding compliance with the

state court’s 2005 order to locate and preserve evidence, at least

with regard to the evidence sent to the SBI, Petitioner’s counsel

could have identified Vaneekhoven as a material witness and moved

to have her conflicted out of representing the state in advance of


      13
         Given Petitioner’s opportunity at the 2008 MAR hearing to call Isenhour
and/or Taylor as witnesses, the record flatly contradicts Petitioner’s statement
in his memorandum in support of his motion for discovery that he “has not been
permitted to question under oath any responsible official about why Brady
material was first disclosed in 2005 . . . .” (Docket Entry 11 at 3 (emphasis
added).)

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(and    required   to   testify   at)    the    2008     MAR    hearing.      Again,

Petitioner’s failure to pursue this avenue while in state court

renders good cause for such discovery in federal court lacking.

See Isaacs, 300 F.3d at 1250.14

       2.   Discovery Related to the Fingerprint Brady Claim

       Petitioner also seeks discovery on “(i) the late-disclosed

crime scene     fingerprints;     (ii)       potential    alternative        suspects

identified in the files of the [NCIIC], CPD, and the [District

Attorney’s]     [o]ffice;    (iii)    the     completeness        of   the   State’s

compliance with obligations under Brady following the untimely

disclosure of suspect fingerprints . . .; and (iv) files and

communications     between     agencies       regarding        alternate     suspects

. . . .”    (Docket Entry 10 at 4.)          The Court will deny Petitioner’s

request for discovery on these topics.

       On June 17, 2005, the state court granted Petitioner’s counsel

the right to examine the CPD’s master case file (Docket Entry 7-20

at 20-22), which contained the two reports from Isenhour describing

items of evidence he had delivered to the SBI (Docket Entry 1-5,

¶ 5; see also Docket Entry 7-37 at 3-8).               In the more detailed of


       14
         Petitioner’s failure to call Isenhour, Taylor, and/or Vaneekhoven as
witnesses at the 2008 MAR hearing, at least in regards to his SBI Brady claim,
also implicates the statutory bar against an evidentiary hearing on federal
habeas review: “If the [petitioner] has failed to develop the factual basis of
a claim in State court proceedings, the court shall not hold an evidentiary
hearing on the claim unless the [petitioner] shows that the claim relies on a
factual predicate that could not have been previously discovered through the
exercise of due diligence; and the facts underlying the claim would be sufficient
to establish by clear and convincing evidence that but for constitutional error,
no reasonable factfinder would have found the [petitioner] guilty of the
underlying offense.” 28 U.S.C. § 2254(e)(2) (emphasis added).

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the two reports, Isenhour reported that “[a] total of 68 latent

lifts were recovered from the crime scene (interior and exterior)”

and that “[a]ll prints have been repeat[ed]ly checked against

suspect(s) and no identifications have been made from the latents.”

(Docket Entry 7-37 at 4 (emphasis added).)15              Thus, by mid-2005,

Petitioner had notice that Isenhour obtained latent fingerprint

lifts from the crime scene, as well as comparisons of those lifts

to “suspect(s).” (Id.) Again, at the 2008 MAR hearing, Petitioner

chose not to call Isenhour and question him under oath about those

fingerprints and/or any “suspect(s).”           Arguably, then, Petitioner

lacks good cause for his requests for such information in this

Court.     See Isaacs, 300 F.3d at 1250.

      Setting that consideration aside, Petitioner still cannot

demonstrate good cause for his fingerprint/alternate suspect-based

discovery requests.      As discussed above, Petitioner’s fingerprint-

based Brady claim remains unexhausted, and persuasive authority

supports the denial of discovery for unexhausted claims. See, e.g,

Saucedo v. Brazelton, No. 13-cv-01696-SI, 2015 WL 4481795, at *2

(N.D. Cal. July 22, 2015) (unpublished) (declaring that “[t]he

right to federal discovery presupposes the presentation of an . . .

exhausted federal claim” (internal quotation marks omitted)); Brown

v. Aud, No. 2:09-CV-10735, 2015 WL 574875, at *2 (E.D. Mich. Feb.

      15
        The other report reflects that “the crime scene was processed for latent
prints of value, using conventional methods of dusting and lifting” and that
“[n]umerous prints were lifted, with some being eliminated by [Isenhour] as those
of the victim . . . .” (Docket Entry 7-37 at 7.)

                                       30




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11, 2015) (unpublished) (holding the petitioner not entitled to

discovery because his Brady claim remained unexhausted); Sherman v.

McDaniel, 333 F. Supp. 2d 960, 969 (D. Nev. 2004) (refusing to

“grant    the    sort   of   wide-ranging   discovery   sought    by   [the]

petitioner without a showing that he has exhausted in state court,

and has    not    procedurally defaulted,     the   claims   on   which   his

proposed discovery is based” and observing that to grant the

discovery “would tend to undermine the exhaustion requirement, and

the doctrine of federal-state comity on which it rests”); see also

Keeney v. Tamayo-Reyes, 504 U.S. 1, 9 (1992) (“The state court is

the appropriate forum for resolution of factual issues in the first

instance . . . .”), superceded by statute on other grounds as

stated in Williams v. Taylor, 529 U.S. 420, 432-34 (2000); Greene

v. McDaniel, No. 2:07CV304-RLH-GWF, 2009 WL 311168, at *5 (D. Nev.

Feb. 6, 2009) (unpublished) (“State court] is the appropriate forum

for [the] petitioner’s discovery request, at least in the first

instance.” (citing Keeney)).

     Accordingly, the Court will deny Petitioner’s Motion for Leave

to Conduct Discovery.

                               V.   Conclusion

     Petitioner has not exhausted his fingerprint-related Brady

claim and has not shown good cause for discovery.

     IT IS THEREFORE ORDERED that Petitioner’s Motion for Leave to

Conduct Discovery (Docket Entry 10) is DENIED.


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     IT   IS   RECOMMENDED   that    Respondent’s   Motion   for   Summary

Judgment (Docket Entry 5) be granted in part and denied in part, in

that Judgment be entered dismissing this action without prejudice

pending Petitioner’s exhaustion of his fingerprint-based Brady

claim in the state courts, without issuance of a certificate of

appealability.



                                       /s/ L. Patrick Auld
                                           L. Patrick Auld
                                    United States Magistrate Judge


December 14, 2016




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